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OMilon 4. Hine, PE
Miorney at Law

FACSIMILE:
: 40-06 WarreEN STREET
‘a Ee E.muurst, NY 11373 (718) 685-0077
fee March 9, 2020
VIA-ECF

Honorable Judge Paula Xinis
U.S. District Judge

District of Maryland

6500 Cherry Wood Lane
Greenbelt, MD, 20770

Re: USAv. Juan Carlos DeLeon
Docket No.: 0416 8:19CR00125-003
REQUEST FOR ENLARGEMENT OF TIME
FOR SENTEN CING

 

Honorable Judge Xinis:

I am writing this letter to respectfully request an adjournment of my client’s sentencing,
scheduled for March 19, 2020, at 1:00 p.m.

Specifically, I have been informed by my client’s mother, Maritza DeLeon, that on
March 6, 2020, Mr. DeLeon had to be rushed and admitted to Roger William’s Medical Center,
in Providence, Rhode Island, because he was suffering from heart problems that caused his built
in heart defibrillator to active and charge his heart on numerous occasions.

In addition, I am awaiting numerous medical records from various medical facilities
pertaining to Mr. DeLeon’s medical condition.

Thus, once again, I respectfully request an adjournment of Mr. DeLeon’s sentencing date
and request a date in May, 2020, for sentencing.

Thank you for your time and consideration,

Very truly yours,

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“Milton H. F lorez, Esa.

   

C.c.: Erin B. Pulice
Assistant United States Attorney
